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                        UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF OKLAHOMA

  CHRIS WILLIAMSON,                                      )
                                                         )
                         Plaintiff,                      )
                                                         )
  v.                                                     )       Case No. 08-CV-0465-CVE-TLW
                                                         )
  ACADEMY COLLECTION SERVICES,                           )
  INC.,                                                  )
                                                         )
                                                         )
                         Defendant.                      )

                                                ORDER

         This matter comes on for consideration of defendant’s Motion for Release of Judgment (Dkt.

  # 46), to which plaintiff has not responded. On April 24, 2009, plaintiff filed notice (Dkt. # 38) that

  he had accepted an offer of judgment from defendant, and the Court entered judgment (Dkt. # 40)

  in favor of plaintiff in the amount of $4,000. Defendant states that it has paid the judgment in full

  and has asked plaintiff’s counsel to execute a release and satisfaction of judgment. Dkt. # 46, at 2.

  Defendant has presented evidence showing that it has asked plaintiff’s counsel to file a release and

  satisfaction of judgment at least five times, but plaintiff’s counsel has not filed a release and

  satisfaction of judgment. Id., Ex. 1. Under Fed. R. Civ. P. 60(b)(5), the Court may relieve a party

  from a final judgment if “the judgment has been satisfied, released or discharged . . . .” The Court

  finds that defendant has satisfied its obligations under the judgment, and the judgment should be

  released.

         IT IS THEREFORE ORDERED that defendant’s Motion for Release of Judgment (Dkt.

  # 46) is granted, and the judgment (Dkt. # 40) is released pursuant to Fed. R. Civ. P. 60(b)(5).

         DATED this 26th day of August, 2009.
